958 F.2d 367
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Stephen Durand HARRIS, Plaintiff-Appellant,v.Aaron J. JOHNSON;  N. Hector McGeachy;  Harold Diggs;Irving Joyner;  Cornelias McGee;  William A. Dudley;  JohnDoe, and others;  Earl D. Beshears;  Lt. Wilson;  Sgt.Pulley;  M. Wilkins;  Bobby Roe, Defendants-Appellees.
    No. 91-6692.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 2, 1992.Decided March 16, 1992.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.   Terrence W. Boyle, District Judge.  (CA-90-645-CRT-BO)
      Stephen Durand Harris, appellant pro se.
      Ronna Dawn Gibbs, North Carolina Department of Justice, Raleigh, N.C., for appellees.
      E.D.N.C.
      AFFIRMED.
      Before SPROUSE and WILKINSON, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Stephen Durand Harris appeals from the district court's order denying relief under 42 U.S.C. § 1985 (1988).   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Harris v. Johnson, No. CA-90-645-CRT-BO (E.D.N.C. Nov. 1, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    